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                  EXHIBIT B-105
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                   IN THE SUPERIOR COURT OF FULTON COUNTY r.:::-;-;---;==--:7"'.:-=-~'""'!"---.
                                                                                    FILEDIN OFFICE
                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Stephen Cliffgard Lee                         )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Stephen Cliffgard Lee, born

    October 25, 1952, (hereinafter, "the Witness") is a necessary and material witness to

    the Special Purpose Grand Jury's investigation. The Court further finds that the

    Witness currently resides in Yorkville, Kendall County, Illinois.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on or about December 21, 2021,

    Willie Lewis Floyd III, also known as Harrison William Prescott Floyd III, a former

    director of Black Voices for Trump, stated to Reuters that he was asked by a man

    described as a chaplain with federal law enforcement connections, to arrange a

    meeting with Ruby Freeman, a Fulton County election worker who had been publicly

    accused of committing election fraud by individuals known to be associated with the

    Trump Campaign. According to Floyd, the purpose of the meeting was to discuss a

    purported "immunity deal" with Freeman. Floyd then arranged for Trevian Kutti, a

    purported publicist based in Chicago, Illinois, to meet with Freeman.
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 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds on January 4, 2021, Kutti stated to

    Freeman via telephone that "an armed squad of federal" officers would "approach"

    Freeman and her family within 48 hours and that Kutti had access to "very high-

    profile people that can make particular things happen ... in order to defend yourself

    and your family." Kutti and Freeman then met ata Cobb County Police Department

    precinct, where Kutti made similar statements, indicating to Freeman that her

    "freedom ... and the freedom of one or more of your family members" would be

    disrupted if Freeman declined her assistance and that Freeman was "a loose end for a

    party that needs to tidy up." Kutti also stated her intent to connect Freeman with

    Floyd, referring to him as "a Black progressive crisis manager, very high level, with

    authoritative powers to get you protection that you need." After making these

    statements, Kutti made a lengthy telephone call to Floyd on speakerphone so that he

    could join the conversation with Freeman. During the course of the telephone

    conversation, in the presence of Floyd, Freeman was pressured to reveal information

    under the threat of incarceration if she did not comply. All of these statements were

    captured on police body worn camera footage reviewed by the District Attorney.

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on information received by

    the District Attorney through collateral interviews, the Witness was identified as the
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    person responsible for asking Floyd to arrange the meeting with Freeman in order to

    facilitate these conversations.

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the District Attorney has reviewed

    documents obtained by the Special Purpose Grand Jury that demonstrate that the

    Witness personally spoke to both Floyd and Kutti multiple times via telephone

    between January 4, 2021, and January 5, 2021. This information corroborates the

    information received through collateral interviews identifying the Witness as the

    person responsible for asking Floyd to arrange the meeting with Freeman.

 8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the District Attorney has also

    reviewed police body worn camera footage from December 15, 2020, which shows

    that the Witness personally came to Freeman's home in Cobb County, Georgia, which

    frightened her and caused her to call 911 approximately three times for police

    assistance. In the footage, the Witness admitted that he knocked on the door of

    Freeman's home in order to provide "pro bono service" to her, then left for a short

    period of time, and returned sometime later which prompted Freeman to call 911.

 9. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on the

    information set forth above, is a necessary and material witness. The Witness
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    possesses unique knowledge concerning communications between himself and other

    known and unknown individuals involved in the multi-state, coordinated efforts to

    influence the results of the November 2020 election in Georgia and elsewhere.

    Finally, the Witness's anticipated testimony is essential in that it is likely to reveal

    additional sources of information regarding the subject of this investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, November 10, 2022, at 9:00 a.m, at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 13. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.
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       14. The State of Georgia is a participant in a reciprocal program providing for the

           securing of witnesses to testify in foreign jurisdictions which likewise provide for

           such methods of securing witnesses to testify in their courts.

       15. This Certificate is made for the purpose of being presented to a judge of the Circuit

           Court of Kendall County, Illinois, by the State's Attorney for Kendall County,

           Illinois, or his duly authorized representative, who is proceeding at the request and on

           behalf of the Office of the Fulton County District Attorney.

      WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,
                     rjV\
      This the 1       day of October, 2022.




                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-116 Filed 08/21/23 Page 9 of 13




                   IN THE SUPEfilOR COURT OF FULTON COUNTY                                           .
                               ATL~~!t~~r~i~LR~~cun    ~ 0:2:L  Cbuo;;i_~·                   -8R
                                 .               .  ~~lkED IN OFFICE
IN RE: REQUEST FOR
                                                               ~1.                                       1J
       SPECilAL PURPOSE                                             ):    ~.{~~~~~~'f'::!.
        GRA.l\ID JURY                                              L .. ,_ ___               _
                                                                                                 I

               OlRDER APPROVING REQUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100, et seQ.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IOO(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-101(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       Thi::; authorization ::;hall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury'~ investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ctiminal matters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER O ......,.........___,_,D
                                        that this Order shall be filed in the Office of the Clerk of
                                     . (-------....
                                     '·\          "

                                                      .,.:...--'---',---4.----'----'   2022.




                                CHRISTOPHER S. BRASHER~IEF                             JUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                        Exhibit B
               Case 1:23-cv-03721-SCJ Document 1-116 Filed 08/21/23 Page 12 of 13


                                OFFICE OF THE FULTONCOUNTI DISTRICTATTORNEY
                                            ATlANTA JUDICl/\LCIRCUIT
                                          136 PRYORSTREETSW,3RD FLOOR
                                              ATLANTA,GEORGIA30303
 ,.,..,_     --r-;-=,r.;i,1/"                                           TELEPHONE404-612-4639
&fr ni di. r_r1.fllra
District Attorney



                                                                                     tD2-2-·-£X-DODDl7
           The Honorable Christopher S. Brasher
           Chief Judge, Fulton County Superior Court                                   FILED IN OFFICE
           Fulton County Courthouse                                                                            J)
           185 Central Avenue SW, Suite T-8905
           Atlanta, Georgia 30303

           January 20, 2022

           Dear Chief Judge Brasher:

           I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
           Office has received information indicating a reasonable probability that the State of Georgia's
           administration of elections in 2020, including the State's election of the President of the United
           States, was subject to possible criminal disruptions. Our office has also learned that individuals
           associated with these disruptions have contacted other agencies empowered to investigate this
           matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
           States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
           agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
           result, our office has opened an investigation into any coordinated attempts to unlawfully alter
           the outcome of the 2020 elections in this state.

           We have made efforts to interview multiple witnesses and gather evidence, and a significant
           number of witnesses and prospective witnesses have refused to cooperate with the investigation
           absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
           Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
           participate in an interview or otherwise offer evidence until he is presented with a subpoena by
           my office. Please see Exhibit A, attached to this letter.

           Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
           to O.C.G.A. § 15-12-100 et. seq., that a special purpose grand jury be impaneled for the purpose
           of investigating the facts and circumstances relating directly or indirectly to possible attempts to
           disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
           special plll'pose grand jury, which will not have the authority to return an indictment but may
           make recommendations concerning criminal prosecution as it shall see fit, is needed for three
           reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
           required in order to accomplish its investigation, which will likely exceed a normal grand jury
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     term; second,the special purpose grandjurywouldbe empoweredto reviewthis matter and this
     matter only, with an investigatory focus appropriate to the complexity of the facts and
     circumstances involved; and third, the sitting grand jury would not be required to attempt to
     address this matter in addition to their normal duties.

     Additionally, I am requesting that, pursuant to 0.C.G.A. § 15-12-101, a Fulton County Superior
     Court Judge be assigned to assist and supervise the special purpose grandjury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.

      espectfull~,

     k\
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'-mstrict     Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of Meet the Press on NBC News at 26:04
     (video archivedat https://1,,VWVv,youtube.corn/watch?v=B7lcBRPgt9k)
     ExhibitB: ProposedOrder

    cc:
    The Honorable K.ii.-n.berly
                            M. Esmond Adams
    The Honorable Jane C. Barwick
    The Honorable Rachelle Carnesdale
    The HonorableThomas A Cox, Jr.
    The Honorable Eric Dunaway
    The Honorable Charles M. Eaton, Jr.
    The HonorableBelinda E. Edwards
    The Honorable Kelly Lee Ellerbe
    The Honorable Kevin M. Fanner
    The B;onorable Ural Glanville
    The HonorableShakura L. Ingram
    TheHonorableRachel R. Krause
    The Honorable Melynee Leftridge
    TheHonorableRobertCJ. IvlcBurney
    The HonorableRemy M. Newkirk
    The Honorable Emily K. Richardson
    The Honorable Craig L. Schwall, Sr.
    The HonorablePaige Reese Vlh.itaker
    The Honorable Shermela J. \Villiams
    Fulton County Clerk of Superior Court Cathelene ';Tina" Robinson
